         Case 8:04-cv-01052-DKC Document 65 Filed 11/17/05 Page 1 of 12



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                      :
BARBARA GOLDRING
                                      :

     v.                               : Civil Action No. DKC 2004-1052

                                      :
TOWN OF LA PLATA, MARYLAND,
et al.                                :

                              MEMORANDUM OPINION

     This case involves an alleged incident on October 1, 2001,

between Plaintiff Barbara Goldring and Defendants Harold E.

Cunningham, a police officer and employee of Defendant Town of

La Plata, Maryland, and Defendant John Chanslor, a security

guard employed by Defendant Civista Health Center.               Plaintiff’s

claims include: (a) federal civil rights violations under 42

U.S.C.     §   1983,    (b)   false   imprisonment,     (c)   false   arrest,

(d)battery,       (e)    negligence,      and   (f)   state   civil    rights

violations under Article 26 of the Maryland Declaration of

Rights.1

     On August 19, 2005, this court denied without prejudice

Defendants’      motions      to   dismiss   for   Plaintiff’s   failure   to



     1 The federal and state civil rights claims are brought
against Defendants Town of La Plata and Cunningham.          The
remaining claims are brought against Defendants Cunningham,
Chanslor, and Civista Health Center.         In her complaint,
Plaintiff also asserted defamation and assault claims, which the
court later dismissed because they were not brought within the
applicable statute of limitations.
        Case 8:04-cv-01052-DKC Document 65 Filed 11/17/05 Page 2 of 12



provide    discovery,       but    directed      Plaintiff      to   provide      all

requested documents within five business days.                   (Paper 50).      The

court stated that Plaintiff must “produce all documents in her

possession or under her control and, if she contends that there

are no responsive documents to a certain request, she must so

state    with   specificity        in    writing.”          Moreover,     the   court

emphasized      that   Plaintiff        “will   not    be    heard   to    make   any

objection to any document request.”               The court noted that it was

the second time Defendants had complained of Plaintiff’s failure

to produce requested documents, and emphasized that, pursuant to

Fed.R.Civ.P. 37(d), dismissal is an authorized sanction for

failure    to   provide      discovery.          The   court    noted      it   would

“attempt, one final time, to see whether a less drastic sanction

might be effective.”

    On August 24, 2005, Defendants Civista Health Center and

John Chanslor, and Defendants Town of La Plata and Harold E.

Cunningham both filed motions for summary judgment based on the

merits of Plaintiff’s claims (papers 51 and 52, respectively).

On September 2, 2005, Defendants Civista Health Center and John

Chanslor     filed     a    supplemental        memorandum      recasting       their

previous     motion    as    one    for    summary      judgment     or,    in    the

alternative, to dismiss, based on Plaintiff’s continued failure

to provide discovery.              (Paper 53).         On September 6, 2005,


                                          2
        Case 8:04-cv-01052-DKC Document 65 Filed 11/17/05 Page 3 of 12



Defendants Harold E. Cunningham and Town of La Plata joined in

and     incorporated     by   reference     the   September      2,      2005,

supplemental memorandum.        (Paper 54). According to Defendants,

as of September 2, 2005, Plaintiff had not complied with the

court’s August 19, 2005, Order because she had not produced any

documents nor asserted in writing that there are no responsive

documents to Defendants’ requests.

      On September 16, 2005, the court directed Plaintiff to show

cause why the case should not be dismissed.              (Paper 55).        On

September 28, 2005, the date Plaintiff’s response was due,

Plaintiff filed a motion for an extension of time to file her

response to the show cause Order, which the court granted.                 The

court    allowed   the   extension    of   time   but   stated   that     with

Plaintiff’s response to the show cause Order, Plaintiff must

also respond to the motions for summary judgment.                On October

12, 2005, Plaintiff filed a single opposition memorandum to both

the Civista/Chanslor (paper 51) and La Plata/Cunningham (paper

52) motions for summary judgment.          (Paper 59).

      On October 13, 2005, Plaintiff filed a document that she

titled “Response to the Court’s Order to Show Cause,”                 (Paper

60), but what in substance was actually an opposition memorandum

to Defendants’ supplemental memorandum addressing Plaintiff’s

failure to provide discovery.        Regarding the requested documents


                                      3
        Case 8:04-cv-01052-DKC Document 65 Filed 11/17/05 Page 4 of 12



that Plaintiff has not produced, Plaintiff first states that

although she doesn’t have certain documents in her possession,

they are “inevitably irrelevant and overbroad” because Plaintiff

seeks    only    damages    for       “emotional       distress   and   pain    and

suffering.”          Plaintiff    then    makes    three     general    arguments

regarding      her    failure    to    provide    discovery:      the   requested

documents are not relevant and/or Defendants are not prejudiced

by Plaintiff’s failure to provide them, Defendants have already

obtained the documents through other means, or Plaintiff does

not have the requested documents, either within her possession

or because they do not exist.                 Plaintiff makes no attempt to

explain why she did not comply with the court’s August 19, 2005,

Order.     On October 26, 2005, Defendants Civista Health Center

and John Chanslor filed a response to Plaintiff’s October 13,

2005, filing, and reiterated that as of that date, other than

copies    of    two    photographs      given     to    defense   counsel      at   a

deposition, Plaintiff “has not produced a single document.”

(Paper 63).

    Fed.R.Civ.P. 37(d) provides:

            If a party . . . fails (1) to appear before
            an officer who is to take the deposition,
            after being served with a proper notice, or
            (2) to serve answers or objections to
            interrogatories submitted under Rule 33,
            after proper service of the interrogatories,
            or (3) to serve a written response to a
            request for inspection submitted under Rule

                                          4
     Case 8:04-cv-01052-DKC Document 65 Filed 11/17/05 Page 5 of 12



         34, after proper service of the request, the
         court in which the action is pending on
         motion may make such orders in regard to the
         failure as are just, and among others it may
         take    any    action    authorized    under
         subparagraphs   (A),   (B),   and   (C)   of
         subdivision (b)(2) of this rule.

The possible sanctions referred to are:

         (A) An order that the matters regarding
         which the order was made or any other
         designated facts shall be taken to be
         established for the purposes of the action
         in accordance with the claim of the party
         obtaining the order;

         (B)   An   order   refusing to   allow the
         disobedient party to support or oppose
         designated     claims    or  defenses,  or
         prohibiting that party from introducing
         designated matters in evidence;

         (C) An order striking out pleadings or parts
         thereof, or staying further proceedings
         until the order is obeyed, or dismissing the
         action or proceeding or any part thereof, or
         rendering a judgment by default against the
         disobedient party[.]

Fed.R.Civ.P. 37(b) (emphasis added).         The drastic sanction of

dismissal is authorized, but may not be imposed except in the

most compelling circumstances.         The court must apply a four-

factor test to determine if such circumstances exist:

         (1) whether the noncomplying party acted in
         bad faith; (2) the amount of prejudice his
         noncompliance caused his adversary, which
         necessarily includes an inquiry into the
         materiality of the evidence he failed to
         produce; (3) the need for deterrence of the
         particular sort of noncompliance; and (4)


                                   5
          Case 8:04-cv-01052-DKC Document 65 Filed 11/17/05 Page 6 of 12



              the effectiveness of less drastic sanctions.
              [Wilson v. Volkswagen of America, Inc., 561
              F.2d 494,] 503-06 [(4th Cir. 1977)].

Mutual Fed. Sav. & Loan Ass’n v. Richards & Assocs., Inc., 872

F.2d 88, 92 (4th Cir. 1989).
      Dismissal       of   this   case    is    justified      under     the    Fourth

Circuit’s four-factor test.              First, Plaintiff has acted in bad

faith.          In    Societe     Internationale            Pour   Participations

Industrielles Et Commerciales              v.       Rogers, 357 U.S. 197, 212

(1958),      the     Supreme   Court      held       that    dismissal      based   on

noncompliance with a court order is not justified when it has

been established that failure to comply was “due to inability,

and not to willfulness, bad faith, or any fault of petitioner.”

In Rabb v. Amatex Corp., 769 F.2d 996, 1000 (4th Cir. 1985), the

Fourth Circuit concluded that “failure to comply with a court

order ‘where counsel clearly should have understood his duty to

the   court’       constituted    professional        negligence       of   a   degree

amounting to ‘fault.’”2           Rabb, 769 F.2d at 1000 (quoting Cine

Forty-Second St. Theatre Corp. v. Allied Artists Pictures Corp.,

602 F.2d 1062, 1068 (2nd Cir. 1979) (holding gross negligence is

sufficient to find “fault” even where there was no conscious

disregard of a court order)).                  In    Rabb, the Fourth Circuit

affirmed the district court’s dismissal because it found that

the plaintiff had “deliberately disregarded” the court’s order


      2
      The Fourth Circuit cited Rabb in its analysis of the “bad
faith” element in Mutual Fed. Sav. & Loan Ass’n, 872 F.2d at 93.


                                          6
       Case 8:04-cv-01052-DKC Document 65 Filed 11/17/05 Page 7 of 12



without any justifiable excuse.                Rabb, 769 F.2d at 1000.      The

court noted that “if there were legitimate reasons why [the]

[p]laintiff could not comply with the Pre-trial Order the proper

procedure would have been for the [p]laintiff to move for an

extension of time within which to comply,” which the plaintiff

did not do.      Id.        The court concluded: “[W]e hold that the

district court was not clearly erroneous in its finding of

willful disregard and that the fault found by the district court

was sufficient to satisfy the standard set forth in                   Societe

Internationale, 357 U.S. at 212.”

       Plaintiff’s noncompliance with the court’s Order was not due

to her inability to comply, or circumstances beyond her control.

See Societe Internationale, 357 U.S. at 211.             The court directed

Plaintiff either to produce the requested documents or, if there

are no responsive documents, to reply accordingly in writing,

within five business days.          Plaintiff did neither, and responded

only after the court issued a show cause Order a month later.

In that response, Plaintiff offers absolutely no reason for her

noncompliance.       Instead, Plaintiff objects to certain discovery

requests as being irrelevant, argues that Defendants have not

been    prejudiced     by    the   lack   of    discovery,   or   states   that

Defendants    already       have   the    requested   information    or    that

Plaintiff does not possess the documents Defendants request.                 It

is not Plaintiff’s right to determine what is relevant and the

court expressly stated in its August 19, 2005, Order, that any




                                          7
        Case 8:04-cv-01052-DKC Document 65 Filed 11/17/05 Page 8 of 12



objections to Defendants’ requests would not be heard.3                  The

court’s    Order    was   direct   and    unambiguous   –   Plaintiff    was

required, within five business days, either to produce the

requested documents, or, if she contends there are no responsive

documents, to state so in writing.             Plaintiff willfully and

inexcusably disregarded the court’s Order and as such acted in

bad faith.     See Societe Internationale, 357 U.S. at 212; Mutual

Fed. Sav. & Loan Ass’n, 872 F.2d at 92; Rabb, 769 F.2d at 1000;

Cine Forty-Second St. Theatre Corp., 602 F.2d at 1068.

    With regard to the second factor, the documents Defendants

seek are essential to Defendants’ case and Defendants have been



    3  Moreover, Plaintiff’s “Response to the Court’s Order to
Show Cause” contradicts her own deposition testimony.        With
regard to Defendants’ request for medical records related to
treatment for injuries or damages allegedly related to the
occurrence in question, Plaintiff states that she “received all
of her medical care for injuries sustained as a result of this
occurrence at Defendant Civista.” Therefore, Plaintiff argues,
Defendant Civista is already privy to this information. This,
however, is in direct opposition with Plaintiff’s own
deposition, in which she testified under oath that she was seen
on multiple occasions by providers outside of Civista for
injuries she attributes to the occurrence in question.        For
example, Plaintiff testified that she sought treatment from a
doctor in St. Mary’s county, Maryland, for injury to her right
eye as a result of the incident. (Paper 51, ex. 1, deposition
of Barbara Goldring, at 9-19). Plaintiff also testified that
she sought treatment from another doctor regarding a mass in her
breast. Plaintiff claims that this doctor told her the mass was
a result of the “blow” to her during the incident in question.
(Paper 51, ex. 1, deposition of Barbara Goldring, at 46-51).
See Towns v. Morris, No. 93-1295, 1995 WL 120687, at *3 (4th Cir.
March 22, 1995) (unpublished) (finding bad faith where the
plaintiff sent responses to interrogatories that contradicted
with medical records later provided to the defendant).

                                      8
     Case 8:04-cv-01052-DKC Document 65 Filed 11/17/05 Page 9 of 12



prejudiced     by    Plaintiff’s       failure     to     provide    discovery.

Defendants seek, inter alia, medical records relating to the

treatment of injuries allegedly resulting from the incident;

other medical records regarding treatment Plaintiff has received

within the past ten years; copies of tax returns, materials

regarding earning capacity, and employment records; copies of

photographic        evidence    of     Plaintiff’s        injuries    allegedly

resulting    from    the   incident;     and    all     written   material    and

physical evidence Plaintiff intends to use at trial.                         This

information relates to Defendants’ liability, causation, and

damages, and is essential to preparing a complete defense.

Plaintiff’s    failure     to   produce     the   requested       discovery    is

therefore prejudicial.

    Third, “ignoring the direct order[] of                    the    court   with

impunity     . . . must obviously be deterred.”              Mutual Fed. Sav.

& Loan Ass’n, 872 F.2d at 93.           As the Fourth Circuit noted, not

only does Plaintiff jeopardize Defendants’ case through her

noncompliance, if the court ignored Plaintiff’s “bold challenges

to [its] power [it] would encourage other litigants to flirt

with similar misconduct.”            Id. at 92.       Plaintiff’s willful and

inexcusable failure to comply with an Order of this court must

be sanctioned so that similar misconduct is not encouraged in

the future.

    Fourth,         this   court      has      given     Plaintiff     multiple

opportunities to comply with Defendants’ discovery requests and

has put Plaintiff on direct notice that dismissal would be an


                                        9
      Case 8:04-cv-01052-DKC Document 65 Filed 11/17/05 Page 10 of 12



appropriate sanction should her failure to provide discovery

continue.       On May 4, 2005, the court denied without prejudice

Defendants’      motions     to    dismiss         for    Plaintiff’s       failure     to

provide discovery.         On August 19, 2005, the court again denied

without prejudice Defendants’ second motions to dismiss for

failure to provide discovery.                 In the April 19, 2005, Order, the

court directed Plaintiff to provide the requested documents (or

a writing stating the nonexistence of such documents) within

five business days.          The court expressly warned Plaintiff that

a   continued      failure    to    provide         discovery       would    result      in

dismissal.       Plaintiff ignored the court’s Order and made no

response until the court issued a show cause Order nearly a

month later.       On the day that Plaintiff’s response to the show

cause Order was due, instead of a responsive filing, Plaintiff

asked the court for more time.                      On October 13, 2005, when

Plaintiff finally did respond to the show cause Order, she

offered    no   excuse     for     her    noncompliance         and     still    has    not

produced    the     documents.           Moreover,         no   other    less    drastic

sanction    would    remedy       Plaintiff’s            conduct.       Plaintiff       has

already defied a direct Order of this court and has offered no

excuse.     To date, other than two photographs, Plaintiff has

failed to produce any documentation.                       The requested discovery

does not merely relate to a minor aspect of Plaintiff’s proof

that she can be precluded from using.                      Instead, as pointed out

by Defendants, this material is sought by them in order to

explore    fully    the    merits        of   Plaintiff’s       claims.         Thus,    no


                                              10
     Case 8:04-cv-01052-DKC Document 65 Filed 11/17/05 Page 11 of 12



sanctions   short   of   dismissal    can   remedy   the   situation.   A

separate Order will follow.



                                          ______/s/__________________
                                          DEBORAH K. CHASANOW
                                          United States District Judge




                                     11
Case 8:04-cv-01052-DKC Document 65 Filed 11/17/05 Page 12 of 12
